Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 1 of 52 Page ID #:1026
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 2 of 52 Page ID #:1027
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 3 of 52 Page ID #:1028
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 4 of 52 Page ID #:1029
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 5 of 52 Page ID #:1030
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 6 of 52 Page ID #:1031
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 7 of 52 Page ID #:1032
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 8 of 52 Page ID #:1033
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 9 of 52 Page ID #:1034
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 10 of 52 Page ID
                                 #:1035
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 11 of 52 Page ID
                                 #:1036
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 12 of 52 Page ID
                                 #:1037
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 13 of 52 Page ID
                                 #:1038
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 14 of 52 Page ID
                                 #:1039
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 15 of 52 Page ID
                                 #:1040
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 16 of 52 Page ID
                                 #:1041
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 17 of 52 Page ID
                                 #:1042
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 18 of 52 Page ID
                                 #:1043
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 19 of 52 Page ID
                                 #:1044
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 20 of 52 Page ID
                                 #:1045
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 21 of 52 Page ID
                                 #:1046
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 22 of 52 Page ID
                                 #:1047
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 23 of 52 Page ID
                                 #:1048
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 24 of 52 Page ID
                                 #:1049
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 25 of 52 Page ID
                                 #:1050
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 26 of 52 Page ID
                                 #:1051
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 27 of 52 Page ID
                                 #:1052
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 28 of 52 Page ID
                                 #:1053
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 29 of 52 Page ID
                                 #:1054
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 30 of 52 Page ID
                                 #:1055
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 31 of 52 Page ID
                                 #:1056
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 32 of 52 Page ID
                                 #:1057
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 33 of 52 Page ID
                                 #:1058
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 34 of 52 Page ID
                                 #:1059
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 35 of 52 Page ID
                                 #:1060
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 36 of 52 Page ID
                                 #:1061
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 37 of 52 Page ID
                                 #:1062
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 38 of 52 Page ID
                                 #:1063
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 39 of 52 Page ID
                                 #:1064
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 40 of 52 Page ID
                                 #:1065
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 41 of 52 Page ID
                                 #:1066
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 42 of 52 Page ID
                                 #:1067
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 43 of 52 Page ID
                                 #:1068
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 44 of 52 Page ID
                                 #:1069
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 45 of 52 Page ID
                                 #:1070
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 46 of 52 Page ID
                                 #:1071
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 47 of 52 Page ID
                                 #:1072
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 48 of 52 Page ID
                                 #:1073
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 49 of 52 Page ID
                                 #:1074
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 50 of 52 Page ID
                                 #:1075
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 51 of 52 Page ID
                                 #:1076
Case 2:17-cv-06187-FMO-AS Document 57-1 Filed 10/17/19 Page 52 of 52 Page ID
                                 #:1077
